Case 6:10-cv-00329-JRG Document 319 Filed 10/28/10 Page 1 of 1 PageID #: 2299




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION



ADJUSTACAM LLC,

                        Plaintiff,

v.                                                Civil Action No. 6:10-cv-329-LED

AMAZON.COM, INC. et al.,

                        Defendants.



ORDER ON DEFENDANT RADIOSHACK CORPORATION’S UNOPPOSED MOTION
             TO WITHDRAW AND SUBSTITUTE COUNSEL

        CAME ON THIS DAY for consideration Defendant Radioshack Corporation’s

Unopposed Motion to Withdraw and Substitute Counsel (the “Motion”). The Court having

considered the Motion is of the opinion that said motion should be granted.

        It is hereby,

        ORDERED that Christopher Michael Joe is withdrawn as attorney of record for

Defendant Radioshack Corporation and that R. David Donoghue and Peter Sanborn of

HOLLAND & KNIGHT, LLP have substituted in as of record for Defendant Radioshack

Corporation. Michael Smith of SIEBMAN, BURG, PHILLIPS & SMITH, LLP remains counsel

of record for Defendant Radioshack Corporation.

        The clerk of court is hereby ordered to remove Christopher M. Joe from the Court’s ECF

e-mail notice list for this case.
             So ORDERED and SIGNED this 28th day of October, 2010.




                                      __________________________________
                                      LEONARD DAVIS
                                      UNITED STATES DISTRICT JUDGE
